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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


MICHAEL ANDERSON; LOUIS                         *
RICHARD ROWLAND; and                            *
MICHAEL DOBSON,                                 *
                                                *
                    Plaintiffs,                 *
                                                *
vs.                                             *          No. 4:98cv0070 SWW
                                                *
                                                *
                                                *
THE BOARD OF EDUCATION OF                       *
PULASKI COUNTY SCHOOL                           *
DISTRICT, a Public Body Corporate,              *
                                                *
                    Defendant.                  *


                                          JUDGMENT

       Pursuant to the Memorandum and Order entered in this matter on this date, it is

Considered, Ordered, and Adjudged that this case be, and it hereby is, dismissed; the relief

sought is denied.


               IT IS SO ORDERED this 2nd day of March, 2006.


                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
